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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

UNITED STATES OF AMERICA

      v.                                        CASE NO. 8:24-cr-330-VMC-CPT

JORDAN GUY MACDONALD GOUDREAU and
YACSY ALEXANDRA ALVAREZ MIRABAL

  UNITED STATES’ TIME-SENSITIVE MOTION TO EXTEND STAY OF
 RELEASE ORDER PENDING REVIEW OF MOTION FOR REVOCATION

      The United States of America, by Roger B. Handberg, United States Attorney

for the Middle District of Florida, hereby files this time-sensitive motion to extend

the stay of a magistrate judge’s order of release pending the Court’s review of the

government’s motion for revocation under 18 U.S.C. § 3145(a)(1). Defendant Jordan

Guy MacDonald Goudreau (“GOUDREAU”) is charged in a 14-count indictment

with violations of export and firearms laws relating to a conspiracy to carry out an

armed incursion into Venezuela to remove a sitting Venezuelan president from

power. On July 30, 2024, GOUDREAU was arrested on these charges in the

Southern District of New York, where he made his initial appearance that evening.

The magistrate judge overseeing the proceedings denied the United States’ motion

for pretrial detention, but stayed the order of release until close of business on July

31, 2024.
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      As a result, and pursuant to Local Rule 3.01(e), the government requests that

the Court extend the stay of the magistrate judge’s release order, so that

GOUDREAU is not released until the Court rules on the government’s motion for

revocation, which will be filed promptly.



                                        Respectfully submitted,

                                        ROGER B. HANDBERG
                                        United States Attorney


                                 By:    /s/ Risha Asokan
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                            CERTIFICATE OF SERVICE

       I hereby certify that on July 31, 2024, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

       Counsel of Record


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